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Abraham Mykoff, Pro Se

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UNITED STATES DISTRICT COURT
in and for the SOUTHERN DISTRICT OF NEW YORK

Abraham Mykoff, individually CASE NO.:
Ron Greenberg, individually

Plaintiffs, NOTICE OF NON-AVAILABILITY
V8.

HOME DEPOT, INC.; COURI, aka

Cuori international (H.K.) Ltd., aka

Cuori Group, aka Ningbo Prince Electric
Appliance Co, Ltd., aka Millan Stylee

Alan Kape, aka owner, Kape Insurance

Agency, Individually, and, in official capacity

Scott Fluger, Kape Insurance Agency,
Individually, and in official capacity

Philadelphia Insurance Companies, aka
Philadelphia Consolidated Holding Corp.

aka Tokio Marine Haldings, Inc.;

Jim Cahill, Mayor, The City of New Brunswick
Individually and in official capacity Middlesex
Board of County Commissioners, Robert

Rawis, Director, The City of New Brunswick

Fire Department, Individually and in official capacity,
Charles E. Tomaro, Freeholder Deputy Director,
Middlesex County's Board of Chosen Freeholders,
individually and in Official Capacity

Christoper Paladino, DEVCO, individually and in
official capacity, Mitch Karon, Executor Director,
New Brunswick Parking Authority, Individually and
in official capacity, Board of Commissioners New
Brunswick Parking Authority, Leonard T. Bier,
Board, Individually and in Official Capacity,
Leonard T. Bier, General legal counsel for New
Brunswick Parking Authority, Individually and in
Case 3:18-cv-13110-GC-TJB Documenti1-3 Filed 11/03/17 Page 2 of 2 PagelD: 30

Official Capacity. Bier Associates, Individually
and in Official Capacity, New Brunswick Parking
Authority Board Board of Commissioners,

DOES 1 to 100,
Defendants,

CERTIFICATION IN SUPPORT OF NON-AVAILABILITY

|, Abraham Mykoff, Plaintiff and appearing Pro Se, do hereby certify and say:

1, Abrahm Mykoff, Plaintiff and appearing Pro Se, shall be out of the United

States from 1 November 2017 through 12" November 2017 and unavailable.

| declare under penalty of perjury under the laws of the United States that the
forgoing is true and correct.

22™ October 2017

Abraham Mykoff, Bro Se / Y

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